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                EXHIBIT B
     DETAILED STATEMENT OF EXPENSES
    NOVEMBER 1, 2015 TO DECEMBER 31, 2015
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                                                            Quiksilver, Inc.
                                                            Deloitte Tax LLP
                                        Expenses Sorted by Category for the Fee Period
                                           November 01, 2015 - December 31, 2015

Category                                       Date             Description                                                    Amount

Auto Tolls, etc
   Crane, Leah                                 12/02/2015       Auto tolls in Irvine, CA during travel to Quicksilver               $14.96
                                                                client site.
        Subtotal for Auto Tolls, etc:                                                                                               $14.96

Meals
   Gerstel, Ken                                11/18/2015       Lunch in Los Angeles, CA while on travel for client                 $11.85
                                                                engagement meeting. ATTENDEES: Ken Gerstel
   Crane, Leah                                 12/01/2015       Breakfast in Huntington Beach, CA during travel                      $4.85
                                                                while working on client engagement.
                                                                ATTENDEES: Leah Crane
   Crane, Leah                                 12/01/2015       Lunch in Westminster, CA during travel while                         $6.48
                                                                working on client engagement. ATTENDEES:
                                                                Leah Crane
        Subtotal for Meals:                                                                                                         $23.18

Mileage
   Crane, Leah                                 12/01/2015       Mileage from San Diego, CA to Huntington Beach,                    $110.40
                                                                CA Quicksilver client site.
   Gerstel, Ken                                12/01/2015       Mileage from San Diego, CA to Huntington Beach,                    $112.13
                                                                CA Quicksilver client site.
        Subtotal for Mileage:                                                                                                      $222.53
Total                                                                                                                              $260.67




                                                               Recapitulation
                  Category                                                                                              Amount
                  Mileage                                                                                                $222.53

                  Meals                                                                                                   $23.18

                  Auto Tolls, etc                                                                                         $14.96




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